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        The Rock Doc: 3 findings from our investigation into Jeff
        Young's close ties with local cops
          Cassandra Stephenson and Brett Kelman, Jackson Sun   Published 12:00 p.m. CT Aug. 19, 2019 | Updated 12:09 p.m. CT Aug. 19, 2019



The USA TODAY Network — Tennessee published this week the second part of an investigation into Jeffrey W. Young II, a Jackson nurse practitioner
know as the "Rock Doc" who was indicted on federal drug trafficking charges (/story/news/crime/2019/08/19/tennessee-rock-doc-jeffrey-young-
manipulating-cops/1967421001/) in April.

Our 1,600-word investigation explores Young's close relationship with some local police officers who were also his patients.


The story is available to digital subscribers of The Jackson Sun and The Tennessean today, so consider purchasing a subscription if you want to read it
(https://offers.jacksonsun.com/specialoffer?gps-
source=CPMASTHEAD&utm_medium=onsite&utm_source=masthead&utm_campaign=SStateSale&utm_content=CPMASTHEAD).

Investigation: Tennessee ‘Rock Doc’ accused of 'manipulating' cops while dealing drugs (/story/news/crime/2019/08/19/tennessee-rock-doc-jeffrey-
young-manipulating-cops/1967421001/)

Some highlights of the investigation include:
            A Humboldt police officer once attempted to use internal law enforcement resources to dig up dirt on a man Young claimed was harassing
            him before another cop intervened.
            When Young became worried there was a warrant for his arrest, a Jackson cop gave him advice and promised to give him a heads up if
            police started looking for him.
            The Jackson Police Department did not consider Young a suspect in a rape investigation despite the alleged rape occuring at Young's home
            and the victim identifying him by name.

Many more details, including text conversations between officers and Young, can be found in the full story, which is available right now with a digital
subscription.

A subscription will also allow you to read a 2,400-word deep-dive into the Tennessee Department of Health's investigations into Young
(/story/news/health/2019/08/12/nurse-practitioner-rock-doc-jeffrey-young-prescribing-opioids-sexual-assault-preventagenix/1269483001/). Over the
course of four years, state health department investigators gathered evidence that Young was having sex with his patients while writing dangerous
prescriptions, but allowed him to continue prescribing medications at his clinics.


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